     Case 2:18-cr-00759-CJC Document 392-1 Filed 04/12/24 Page 1 of 5 Page ID #:3575



1                              DECLARATION OF ANTHONY BEST

2           I, Anthony Best, declare as follows:

3           1.   I am a Special Agent with the Federal Bureau of

4     Investigation.     I am one of the case agents assigned to United States

5     v. Rundo et al., No. CR 2:18-759-CJC.         I have knowledge of the facts

6     set forth herein and could testify truthfully to those facts if

7     called upon.

8           2.   Defendant Robert Rundo, along with his friend Benjamin

9     Daley, founded the Rise Above Movement (“RAM”) in 2017.

10          3.   Attached as Exhibit 1 is a true and correct copy of a word

11    document seized from Ben Daley’s Apple laptop computer.

12          4.   Attached as Exhibit 2 is a true and correct copy of a

13    recording of a YouTube video that was posted on December 17, 2017,

14    from RAM’s account.

15          5.   Attached as Exhibit 3 are true and correct copies of

16    screenshots of social media posts from RAM’s social media accounts.

17          6.   Attached as Exhibit 4 are true and correct copies of

18    photographs taken at defendant’s residence on October 2, 2018.
19          7.   Attached as Exhibit 5 are true and correct copies of

20    screenshots from videos of the Huntington Beach Rally on March 25,

21    2017, and the Berkeley Rally on April 15, 2017.          Defendant was

22    arrested at the Berkeley Rally after assaulting an officer.

23          8.   Attached as Exhibit 6 is a true and correct copy of an

24    October 4, 2018, email from defendant’s email account.

25          9.   Attached as Exhibit 7 are true and correct copies of

26    records from New York State Department of Correctional Services
27    Greene Correctional Facility.

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     Case 2:18-cr-00759-CJC Document 392-1 Filed 04/12/24 Page 2 of 5 Page ID #:3576



1           10.   Attached as Exhibit 8 is a true and correct copy of a

2     recording of an interview of defendant by Federal Bureau of

3     Investigation (“FBI”) agents on October 7, 2018, at Los Angeles

4     International Airport.

5           11.   Attached as Exhibit 9 is a true and correct copy of records

6     regarding defendant’s October 22, 2018, flight between Kiev, Ukraine

7     and Los Angeles, California.

8           12.   Attached as Exhibit 10 is a true and correct copy of

9     screenshots of defendant’s text messages from October 2018.

10          13.   Attached as Exhibit 11 is a true and correct copy of

11    records regarding defendant’s October 10, 2018, flight from New York

12    to Ukraine.

13          14.   Attached as Exhibit 12 is a true and correct copy of

14    records regarding defendant’s October 11, 2018, flight from New York

15    to Ukraine.

16          15.   Attached as Exhibit 13 is a true and correct copy of

17    records regarding defendant’s October 9, 2018, flight from Santa Ana

18    to New York.
19          16.   Attached as Exhibit 14 is a true and correct copy of

20    records regarding defendant’s October 11, 2018, flight from New York

21    to Ukraine.

22          17.   Attached as Exhibit 15 is a true and correct copy of

23    records regarding defendant’s October 9, 2018, flight from Santa Ana

24    to New York.

25          18.   Attached as Exhibit 16 is a true and correct copy of

26    defendant’s text messages from on or about October 10, 2018.
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     Case 2:18-cr-00759-CJC Document 392-1 Filed 04/12/24 Page 3 of 5 Page ID #:3577



1           19.   Attached as Exhibit 17 is a true and correct copy of

2     records regarding defendant’s October 11, 2018, flight from Tijuana

3     to Mexico City.

4           20.   Attached as Exhibit 18 is a true and correct copy of

5     records regarding defendant’s October 11, 2018, flight from Mexico

6     City to Cuba.

7           21.   Attached as Exhibit 19 is a true and correct copy of

8     records regarding defendant’s October 17, 2018, flight from Cuba to

9     Russia.

10          22.   Attached as Exhibit 20 is a true and correct copy of

11    records regarding defendant’s October 18, 2018, flight from Russia to

12    Dubai.

13          23.   Attached as Exhibit 21 is a true and correct copy of

14    records regarding defendant’s October 18, 2018, flight from Russia to

15    Dubai.

16          24.   Attached as Exhibit 22 is a true and correct copy of

17    records regarding defendant’s October 19, 2018, flight from Mexico

18    City to Guatemala.
19          25.   Attached as Exhibit 23 is a true and correct copy of

20    records regarding defendant’s October 21, 2018, flight from El

21    Salvador to Turkey.

22          26.   In October 2018, defendant was returned from El Salvador to

23    the United States and was arrested.

24          27.   Attached as Exhibit 24 is a true and correct copy of

25    defendant’s Wells Fargo bank statements.

26          28.   After the indictment in Case No. 2:18-CR-759-CJC was
27    dismissed in June 2019, defendant traveled through different

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     Case 2:18-cr-00759-CJC Document 392-1 Filed 04/12/24 Page 4 of 5 Page ID #:3578



1     countries for the next several years, including, among others,

2     Bulgaria, Bosnia, and Serbia.

3           29.   Attached as Exhibit 25 is a true and correct copy of an

4     April 19, 2022, Pretrial Services Report for defendant.

5           30.   Attached as Exhibit 26 are true and correct copies of an

6     April 27, 2022 and a January 4, 2023 arrest warrant for defendant.

7           31.   Attached as Exhibit 27 is a true and correct copy of a

8     purported United States passport bearing a picture of defendant.

9     According to Bulgarian law enforcement, defendant presented this

10    passport to a real estate agent in November 2022 in connection with

11    an apartment lease application.        The passport number listed on the

12    passport is not a legitimate number.

13          32.   Attached as Exhibit 28 are true and correct copies of

14    screenshots of defendant’s public posts from Telegram on January 27,

15    2023 and February 1, 2023.

16          33.   On March 29, 2023, the FBI arrested defendant in Romania.

17          34.   Attached as Exhibit 29 is a true and correct copy of a

18    video with defendant captured from Vimeo on or about June 30, 2022.
19          35.   Attached as Exhibit 30 is a true and correct copy of a

20    photograph of identification documents recovered from defendant upon

21    his arrest in Romania.

22          36.   Attached as Exhibit 31 is a true and correct copy of

23    conviction and court records regarding defendant’s 2009 attempted

24    gang assault in New York.

25          37.   Attached as Exhibit 32 are true and correct copies of FBI

26    reports (some still in draft form) regarding February 2024
27    surveillance and photographs of items found on defendant’s person

28    upon his arrest.     Shortly after defendant was arrested by an FBI task

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     Case 2:18-cr-00759-CJC Document 392-1 Filed 04/12/24 Page 5 of 5 Page ID #:3579



1     force officer, defendant told the officer that he was going to turn

2     himself in, but was going to grab a beer first.

3           38.   Attached as Exhibit 33 is a true and correct copy of the

4     criminal complaint filed in this case (Dkt. 1.)

5           39.   Attached as Exhibit 34 is a true and correct copy of plea

6     documents related to Benjamin Daley in Case No. 3:18-CR-00025-NKM-JCH

7     in the Western District of Virginia.

8           40.   Attached as Exhibit 35 are true and correct copies of

9     reports detailing interviews with officers from the Berkeley Police

10    Department.

11          41.   Attached as Exhibit 36 is a true and correct copy of an FBI

12    report.

13          I declare under penalty of perjury under the laws of the United

14    States of America that the foregoing is true and correct and that

15    this declaration is executed at San Clemente, California, on April

16    12, 2024.

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18                                                /s/
                                                  ANTHONY BEST
19                                                Special Agent, FBI
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